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                                                                                   DENIED as MOOT.
                              UNITED STATES DISTRICT COURT                         Amended Complaint
                              SOUTHERN DISTRICT OF INDIANA                         filed on October 18,
                                  EVANSVILLE DIVISION
                                                                                           2021.
                                                                                           TWP
  JOHN DOE                                              )
                                                                                        11/15/2021
                                                        )
                 Plaintiff,                             )
                                                        )
          vs.                                           )        Cause No. 3:21-cv-00144-JRS-MPB
                                                        )
  UNIVERSITY OF SOUTHERN                                )
  INDIANA                                               )
                                                        )
                 Defendant.                             )

                              DEFENDANT’S MOTION TO DISMISS

          Defendant University of Southern Indiana (“USI”), by counsel, moves under Federal

  Rule of Civil Procedure 12(b)(6) for entry of an order of dismissal of Counts II, III, and IV of

  Plaintiff’s Complaint on the following grounds: Count II fails to state a Title IX claim for

  deliberate indifference because John Doe does not allege that he experienced and reported sexual

  harassment. Counts III and IV fail to state a Section 1983 claim on which relief may be granted

  against USI because USI is not a “person” within the meaning of 42 U.S. Code § 1983.

          A brief in support of this motion is filed herewith.

  Dated: October 13, 2021                        Respectfully submitted,
                                                 /s/ William P. Kealey
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